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 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
       COLLETTE STARK,                                 Case No. 19-cv-02041-BAS-BLM
11
                                    Plaintiff,         ORDER GRANTING MOTION
12                                                     FOR DISMISSAL OF ACTION
                                                       WITH PREJUDICE
13           v.
14
                                                       [ECF No. 6]
       SCOPE MCA, LLC,
15                                Defendant.
16

17

18         Presently before the Court is a motion to dismiss this action in its entirety with
19   prejudice because it has settled. (ECF No. 6.) The Court GRANTS the motion and
20   DISMISSES WITH PREJUDICE this action. Each party shall bear its own
21   attorneys’ fees and costs. The Clerk of the Court is directed to close this case.
22         IT IS SO ORDERED.
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24   DATED: December 18, 2019
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